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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

                      v.                                             Case No. 17-20363

PAULIN MODI,

       Defendant.
                                              /

       ORDER DENYING MOTION TO VACATE ORDER OF REASSIGNMENT

       Defendant Paulin Modi was charged by information on May 30, 2017. (Dkt. # 1.)

On June 7, 2017, the case was reassigned to this court from Judge Stephen Murphy.

(Dkt. # 4.) Judge Murphy and the undersigned judge determined that the Modi

indictment appeared to be a companion case to this court’s earlier case, Case No. 16-

20732. Defendant now seeks an order vacating the Order Regarding Reassigning

Companion Case. (Dkt. # 14.)

       Modi argues that the instant case is not a companion case because it does not

involve substantially similar evidence, nor involve the same or related parties and arise

out of the same transaction or occurrence. But those questions, and others, were

considered by the affected judges who ultimately determined that transfer would serve

the interest of judicial economy. Judges often enough transfer cases for the sake of

economy as provided for in E.D. Mich. LR 57.10. The mutual consent of the assigned

judges is required; there is no provision in the Rule for Defendant Modi to contest or

reargue this point.
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      Modi’s motion is more closely equivalent to a motion to sever under Federal Rule

of Criminal Procedure 14—alleging that the weight of the evidence goes to the other

defendants, and so on. The court is not convinced in either event. Accordingly,

      IT IS ORDERED that Defendant’s motion to vacate (Dkt. # 14) is DENIED.

      IT IS FURTHER ORDREED that the United States’ motion to strike Defendant’s

motion (Dkt. # 15) is TERMINATED AS MOOT.



                                         s/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE

Dated: August 15, 2017


I hereby certify that a copy of the foregoing document was mailed to counsel of record
and/or pro se parties on this date, August 15, 2017, by electronic and/or ordinary mail.


                                         s/Julie Owens
                                         Acting in the absence of Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (810) 292-6522




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